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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA

vs.                                            Case No.: 1:11-CR-16-SPM/GRJ-1

ALEXANDER BENJAMIN RODRIGUEZ,

           Defendant.
________________________________/

                          ACCEPTANCE OF GUILTY PLEA

        PURSUANT TO the Report and Recommendation (doc. 115) of the United

States Magistrate Judge, to which there have been no timely objections, and subject to

the Court’s consideration of any Plea Agreement pursuant to Federal Rule of Criminal

Procedure 11, the plea of guilty of the Defendant, ALEXANDER BENJAMIN

RODRIGUEZ, to Count One of the indictment is hereby ACCEPTED. All parties shall

appear before this Court for sentencing as directed.

        DONE AND ORDERED this fourteenth day of July, 2011.

                                               s/ Stephan P. Mickle
                                               Stephan P. Mickle
                                               Senior United States District Judge
